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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

United States of America,
                                               Case No. 21-cr-20184
             Plaintiff,
v.                                             Hon. Shalina D. Kumar
                                               United States District Judge
D-2 Alexandria N. Dodge,

             Defendant.




              United States of America’s Sentencing Memorandum


       Defendant Alexandria Dodge distributed about 55 grams of pure

methamphetamine to a confidential informant during controlled purchase by law

enforcement. She has since pleaded guilty to distributing 50 grams or more of

methamphetamine, without a Rule 11 agreement. Dodge also has a history of

violent assaults. The common theme that threads through Dodge’s history and the

offense of conviction is her willingness to harm others. In light of the factors set

forth in 18 U.S.C. § 3553(a), the United States seeks a sentence of 80 months’

imprisonment, which is within the applicable guideline range if the Court finds that

she is safety valve eligible.
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I.    Sentence Considerations

      In determining defendant’s sentence, the Court must consider the “nature

and circumstances of the offense and the history and characteristics of the

defendant.” 18 U.S.C. § 3553(a)(1). The sentence should reflect the seriousness of

the offense, promote respect for the law, provide just punishment, afford adequate

deterrence, and protect the public from further crimes by the defendant, among

other factors. 18 U.S.C. § 3553(a)(2). Although advisory, the sentencing guidelines

are the “starting point” and “initial benchmark” for the sentence, which should be

sufficient, but not greater than necessary to comply with the purposes of § 3553(a)

(2). United States v. Booker, 543 U.S. 220 (2005); Gall v. United States, 552 U.S.

38, 49 (2007).

      A.     Sentencing Guidelines Calculations.

      Dodge has pled guilty to distributing 50 grams or more of

methamphetamine. (PSR ¶ 8). The presentence investigation report calculates the

sentencing guidelines at 78–97 months if she is safety valve eligible. (PSR ¶ 67). If

not, then the mandatory minimum of ten years’ imprisonment applies. (Id.). The

government agrees with these calculations. The total offense level is 27 due to a

base offense level of 30, reduced by three levels for acceptance of responsibility.

(PSR ¶¶ 21, 28–30). Dodge’s prior convictions yield a criminal history category of




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II. (PSR ¶¶ 31–33). A total offense level of 27 combined with criminal history

category II results in a guideline range of 78–97 months. (PSR ¶ 67).

      B.     Safety Valve Eligibility

      Dodge appears to satisfy the criteria, under 18 U.S.C. § 3553(f)(1), that

authorize the Court to impose a sentence below the mandated minimum penalty by

statute. (PSR ¶ 65). Dodge has been convicted of a drug trafficking offense under

21 U.S.C. § 841; has a total of two criminal history points based on two distinct

offenses; did not use violence, threats, or a firearm to commit her offense; did not

cause death or serious bodily injury; was not a leader of others in committing the

offense; and has provided the government truthful information about her offense.

(PSR ¶¶ 5, 8, 13, 31–33, 65).

      C.     The Nature of the Offense.

      This case started with a confidential informant buying methamphetamine

inside Dodge’s house and ended when law enforcement officers searched her

house with a warrant. (PSR ¶¶ 12–14). On December 1, 2020, Dodge was present

when Insane Cobras gang member—and boyfriend—Michael Fraley (D-1) sold 26

grams of methamphetamine to a confidential informant. (PSR ¶¶ 12, 15). Two days

later, Dodge intentionally distributed more than 50 grams of methamphetamine, in

two separate bags, to the confidential informant inside her house. (PSR ¶ 13) More

specifically, the informant bought about 55 grams of pure crystal


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methamphetamine from Dodge for $1,200. (Id.). During the transaction, Dodge

explained that we just got the methamphetamine “straight from Mexico” and it was

“straight yellow.”1 She remarked that they cleaned it up a bit and asked the

informant to let her know when he needed some more.

         These controlled buys led to a search warrant for Dodge’s house a few days

later. (PSR ¶ 14). When executing the search warrant, officers seized suspected

drugs, digital scales, a firearm, cash, and sandwich baggies. (Id.). Officers also

arrested Dodge there, but released her within two days. (Id.). Several months later,

when officers arrested Dodge again, suspected crystal methamphetamine tumbled

out of her bra as she was searched at the jail for contraband. (PSR ¶ 15).

         D.    History and Characteristics.

         Dodge is 31 years old, married, and the mother of three children who remain

under her brother’s guardianship and custody. (PSR ¶¶ 41, 44). In her words,

Dodge was raised by a supportive, loving mother and a step-father, who worked as

a police officer, that was strict. (PSR ¶ 42). Unlike some defendants that grow up

in abusive and neglectful environments, Dodge did not carry similar childhood

experiences with her into adulthood. She graduated from high school and later

attended some college. (PSR ¶¶ 60–61). Her work history is spotty though, and she


1
 Statements captured on the recording device that the informant wore during the drug deal inside
Dodge’s house.

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has been unemployed since 2019. (PSR ¶¶ 62–63). Dodge now admits that she has

a severe methamphetamine addiction and an alcohol problem, which she

acknowledges has caused most of the problems in her life. (PSR ¶¶ 58–59). When

attempting to gain pretrial release, Dodge denied using methamphetamine. (Pretrial

Services Report, pg. 4).

       Dodge’s criminal history shows multiple acts of violence. In 2015—before

she started using methamphetamine—Dodge assaulted two victims, including her

estranged husband. (PSR ¶¶ 31, 58). She hit the first victim in the head with a tea

pot and threw a ceramic lighthouse into the second victim’s face, causing a bloody

nose. (PSR ¶ 31). She then grabbed a broken ceramic piece and tried to slice the

first victim’s chest with it. (Id.).

       When the police arrested her, she resisted by attempting to head butt the

officer. (Id.). She also broke the passenger side mirror of the police car. She yelled

at, kicked, and head-butted the officers during the arrest. (Id.). This culminated in

Dodge smashing her head against the window of the police car so hard that she

shattered it. (Id.). For all this, she was convicted in Florida of battery causing

bodily harm, resisting an officer with violence, and criminal mischief. (Id.). She

later violated her probation and was sentenced to community service, starting 90

days after the birth of her child. (Id.).




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       In June 2018, Dodge assaulted two more victims. She drove over to their

house with her own two young children in her car. She pounded on her victims’

front door and demanded that her husband come outside. (Exhibit 1). The two

victims explained to her several times that he was not there, but she refused to

believe it. (Id.). After throwing yard ornaments and flower pots at the front door,

she tried to shove her way in. (Id.). The victims resisted the intrusion. (Id.). Dodge

then threw an object at Victim-1’s face, causing injury and bleeding. (Id.). Victim-

2 pushed Dodge off the porch, and she began punching Victim-2 in the face several

times. (Id.). Victim-2 wrestled Dodge to the ground and asked Victim-1 to call

911. (Id.).

       When the police arrived, they saw Victim-1 bleeding from the mouth with

her chest coated in blood. (Id.). After the police arrested Dodge, she repetitively

smashed her head against the police car windows. (Id.). And she did all this while

her two young children were present in her car. (Id.). Although this case was

charged, it was later dismissed. (PSR ¶ 34).

       Dodge has also committed misdemeanor larceny by false pretenses and was

sentenced, in 2020, to seven days in jail. (PSR ¶ 32). All this supports a substantial

sentence.




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      E.     Seriousness of the offense, deterrence, and protection of the
             public.

       Trafficking over 50 grams of actual methamphetamine is a serious offense

carrying a minimum sentence of ten years and maximum punishment of life in

prison. Methamphetamine is a highly addictive and harmful substance that often

ruins the lives of those held in its grip. “Chronic meth users can exhibit violent

behavior, anxiety, confusion, insomnia, and psychotic features including paranoia,

aggression, visual and auditory hallucinations, mood disturbances, and delusions

— such as the sensation of insects creeping on or under the skin.” Drug Fact Sheet:

Methamphetamine (dea.gov). Dodge sought to fund her lifestyle and finance her

addiction by distributing this poison to her customers, harming them and their

families. Distribution of illegal, destructive drugs causes damage to the

community: “Society as a whole is the victim when illegal drugs are being

distributed in its communities.” United States v. Green, 532 F.3d 538, 549 (6th Cir.

2008); United States v. Hodges, 641 F. App’x 529, 532 (6th Cir. 2016).

      Congress has determined that a sentence of ten years in prison is the

minimum a defendant should typically receive for distributing more than 50 grams

of methamphetamine. But Dodge appears safety valve eligible, so the Court need

not impose that minimum sentence. A sentence within the applicable guidelines

(78–97 months), however, is necessary to provide specific deterrence to Dodge and

also promote general deterrence. Specific deterrence seeks to dissuade an
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individual defendant from committing future crimes, while general deterrence aims

to have the same effect on “the population at large.” United States v. Camiscione,

591 F.3d 823, 834 (6th Cir. 2010). An 80-month sentence will specifically deter

Dodge because it is a substantial sentence even though it is 40 months fewer than

the statutory minimum. An 80-month sentence will show other would-be drug

dealers that distributing large amounts of methamphetamine has “real”

consequences, thus advancing the goal of general deterrence.

      The common theme that threads through Dodge’s history and the offense of

conviction is her willingness to harm others. Whether it is punching, throwing

objects, headbutting, or distributing large amounts of methamphetamine, her

criminal actions directly harm others. A sentence within the guidelines is necessary

to promote respect for the law, provide deterrence and just punishment, and protect

the public from Dodge committing additional crimes. “Not all [§ 3553(a) factors]

are important in every sentencing; often one or two prevail, while others pale.”

United States v. Bridgewater, 479 F.3d 439, 442 (6th Cir. 2007). Protecting the

public should be one of the prevailing factors here.




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II.   Conclusion

      The government recommends a sentence of 80 months based on the factors

set forth in 18 U.S.C. § 3553(a). The government also requests a minimum term of

four years supervision to follow any term of incarceration.

                                      Respectfully submitted,


                                      Dawn N. Ison
                                      United States Attorney

Dated: October 5, 2022                s/Blaine Longsworth
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                         CERTIFICATION OF SERVICE


      I hereby certify that on, October 5, 2022, I electronically filed the foregoing

document with the Clerk of the Court using the ECF system, which will

electronically serve all ECF participants.




                                                  s/Jessica Stanton
                                                  United States Attorney’s Office




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